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                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF IOWA
                             DES MOINES DIVISION
______________________________________________________________________________

IN RE:                              )    Bankruptcy No. 18-01522 lmj7
                                    )
Teresa L. Smith,                    )
                                    )
                                    )    MOTION FOR RELIEF
             Debtor.                )    FROM AUTOMATIC STAY
______________________________________________________________________________
         COMES NOW Wells Fargo Bank, N.A., its successors or assigns, by and

through its attorneys, Davis, Brown, Koehn, Shors & Roberts, P.C., pursuant to 11
U.S.C. § 362(d) and Bankruptcy Rule 4001(a)(1), and respectfully states to the
Court the following in support of its Motion for Relief from Stay:
         1.    This Court has jurisdiction of this matter pursuant to 28 U.S.C. Section
157(b)(2)(G) and 11 U.S.C. Section 362.
         2.    Teresa L. Smith ("Debtor") filed a Petition in this Court under Chapter
7 of the United States Bankruptcy Code on or about July 5, 2018. The Debtor
listed in Debtor’s schedules an interest in real property situated in Marshall
County, Iowa, locally known as 907 S. 11th Ave., Marshalltown, IA 50158-3519,
and legally described as follows:




(hereinafter referred to as the "Property").


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      3.     As of August 21, 2018 Wells Fargo Bank, N.A. is the holder of a

secured claim against the Property in the principal amount of $19,518.73,
together with accrued interest at the rate of Six and three quarters percent
(6.75%) per annum from and after May 1, 2018, by virtue of the Debtor’s making
of a Mortgage dated August 12, 2004 and a Mortgage Note of even date.
Copies of the Mortgage and Mortgage Note are attached hereto as Exhibits "A"
and “B”.
      4.     Wells Fargo Bank, N.A. does not have, and has not been offered,
adequate protection for its interest in and to the Property. As of August 21, 2018

the Debtor has failed to make Debtor’s monthly installment payments of $364.87
for June 1, 2018 through August 1, 2018, and thereafter, which together with
accrued and unpaid late charges of $12.32, the attorneys’ fees and costs
incurred in connection with this Motion, and accruing interest and costs, is a
delinquency which constitutes a default under the terms of the Mortgage and
Mortgage Note.
      5.     The Debtor has no equity in the Property and has no prospect for
reorganization, as the Debtor has filed a petition for liquidation under Chapter 7
of the Bankruptcy Code. On information and belief, Wells Fargo Bank, N.A.
asserts that the Property has a value less than the amount of its claim.
      6.     The Debtor is in arrears on the payments on the mortgage
indebtedness that have come due since the date of filing. This post-petition
delinquency constitutes additional cause for relief from the automatic stay
under section 362(d)(1).
      7.     If Wells Fargo Bank, N.A. is prevented from foreclosing its Mortgage
in and to the Property, it will suffer irreparable injury, loss and damage.




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       8.    The Order sustaining this Motion should provide that it is effective

immediately upon entry and that the fourteen day stay provided for in
Bankruptcy Rule 4001(a)(3) shall not apply.
       9.    The Order sustaining this Motion shall constitute the abandonment
of the Property from the Bankruptcy Estate and Wells Fargo Bank, N.A. shall not
be obligated to join the Trustee as a defendant in the foreclosure proceeding, if
any.
       10.   Debtor executed a promissory note secured by a mortgage or
deed of trust. The promissory note is either made payable to Creditor or has

been duly indorsed. Creditor, directly or through an agent, has possession of the
promissory note. Creditor is the original mortgagee or beneficiary or the
assignee of the mortgage or deed of trust.
       WHEREFORE, Wells Fargo Bank, N.A. respectfully requests that upon final
hearing on this Motion for Relief from Stay, and pursuant to 11 U.S.C. Section
362(d), the stay be modified, and the Property be deemed abandoned, to
permit Wells Fargo Bank, N.A. to foreclose its Mortgage on the Property and for
such other and further relief as is just and equitable in the circumstances.
       Dated: August 31, 2018.


       Respectfully submitted,


                                         /s/ Mark D. Walz
                                       Mark D. Walz (IS9999605)
                                       Davis, Brown, Koehn, Shors & Roberts, P.C.
                                       4201 Westown Parkway, Suite 300
                                       West Des Moines, Iowa 50266
                                       (515) 246-7898
                                       markwalz@davisbrownlaw.com

                                       ATTORNEY FOR WELLS FARGO BANK, N.A.


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Copy to:

United States Trustee's Office
Room 793, Federal Building
210 Walnut Street
Des Moines, Iowa 50309

Deanna R. Bachman
4800 Mills Civic Parkway Suite 205
West Des Moines, IA 50265

Donald F. Neiman
Bradshaw, Fowler, Proctor & Fairgrave, P.C.
801 Grand Avenue, Suite 3700
Des Moines, Iowa 50309-8004



                                                           PROOF OF SERVICE
                                        The undersigned certifies that the foregoing instrument was
                                        served upon all parties to the above cause by depositing the
                                        same in the U.S. Mail, postage per-paid, to their respective
                                        mailing addresses disclosed on the pleadings or, in the event
                                        the party is represented by counsel, to their counsel; or notice
                                        of the filing of this instrument was sent by e-mail, via CM/ECF,
                                        to all parties on the service list who have registered to receive
                                        service by e mail over CM/ECF, on August 31, 2018.

                                        Signature:   s/s Mark D. Walz




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            Exhibit "A"
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